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EXH|B|T B

 

 

 

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P.O. Box 2300.
Winston-Salem, NC 27102

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MASTER POL|CY

Triad Guaranty insurance Corporation (a stock insurance company hereinafter called the
“Company") agrees to pay the below named |nsured, in consideration of the premium or
` premiums to be paid as hereinafter specified and in reliance upon the lnsured’s representation
and statements made in any application for coverage under this Policy and in any documents
and writings, including any data transferred by electronic media related thereto, any Loss due to
the Defauit by a Borrower on a Loan, subject to the terms and conditions contained herein.

The insured AMERICAN norm Mok'rcAcE

4600 REGENT BLVD SUITE 200

IRVING, TX 75063.
Master Policy No:

. ~ 43-0216-0026 original lssued 08/21/2006
Dater - implicate 06/24/2008 1

|n Witness Whereof, the Company has caused its Corporate Seal to be hereto affixed and there _
presents to be signed by its duly authorized officers in facsimile to become effective as its
original seal and signature and binding on the Company.

TR|AD Guaranty insurance Corporation

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Secretary
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Authorized Signatu®

 

Texas -- Disciosure Of Guaranty Fund Nonparticipation
in the event the insurer is unable to fulfill its contractual
. obligation under this policy or contract or application or
F<>rm #TG~t (2/94) certificate or evidence of coverage, the policyholder or ms
`_'__'_" certificate holder is not protected by an insurance guaranty
fund or other solvency protection arrangement

 

 

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IMPORTANT NOTICE

To obtain information or make a complaint:

You may call Tn`ad’s toll-free telephone number for information or to make a complaint at:
1-800-451-4872

You may also write to Triad at:

Triad Guaranty Insurance Corporation
101 South Stratford Road
Suite 500
Winston-Salem, NC 27104

Attn: Compliance Department

You may contact the Texas Department of Insurance to obtain information on companies,
coverages, rights or complaints at:

1-800-252-3439
You may write the Texas Department of lnsurance at:

Texas Department of Insurance
PO Box 149104
Austin, TX 78714-9104

FAX # (512) 475-1771
PREMIUM OR CLAIM DISPUTES: Shouid you have a dispute concerning your premium or

about a claim you should contact Triad first. If the dispute is not resolved, you may contact the
Texas Department of Insurance.

ATTACH THIS NOTICE TO YOUR POLICY: This notice is for information only and does
not become a part or condition of the attached document

TGB-39 (6/00)

 

 

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TEXAS STATE PROVISIONS ENDORSEMENT

l. It is agreed that the following is included under Condition H.E (Cancellation of
Policy):

1 E. Cancellation of Policy - The Insurer may not cancel or refuse to renew this Policy
` based solely on the fact that the Insured is an elected official.

2. Notice of Nonrenewal - The Insurer may elect not to renew this Policy except, that
under the provisions of the Texas Insurance Code, it may not refuse to renew this
Policy solely because the lnsured is an elected official.

3. It is hereby understood and agreed that all Loans for which for which insurance
coverage initially becomes effective after the above Effective Date, Condition VI.B
(Subrogation) is amended to add the following subparagraph 3:

3. If the Property consists of a single-family dwelling occupied by a Borrower, the
Company shall not have subrogation rights against the Borrower as set forth in this

` Condition and no Borrower shall be liable to the Company for any deficiency
` arising from a foreclosure sale.

Attaching to and forming part of Policy No. 43-0216~0026

issued to American Home Mortgage

TRlAD GUARANTY INSURANCE CORPORATION

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President :-` Secretary
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Authorized RepresentaM

 

 

Form #TGE-l ('I`X) 6/94

(12/05)

 

 

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TEXAS ENDORSEMENT

Item l of Section G, Suit, of Section VI. Additional Conditions is changed as follows:

1. No suit or action for recovery of any Claim under this Policy shall be
sustained in any court of law or equity unless the Insured has substantially
complied with the terms and conditions of this Policy, and unless the suit
or action in equity is commenced within four (4) years after the Claim has
been filed with the Company. No suit or action for Claim may be brought

against the Company until sixty (60) days from the date that the Claim is
filed.

Attaching to and forming part of Policy No.
issued to American Home Mortgage

43-0216-0026

 

 

TRIAD GUARANTY INSURANCE CORPORATION

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President Secretary
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Authorized Representative

 

 

(12/05)

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MASTER POLICY PROVISIONS ENDORSEMENT
(Incontestability)

The purpose of this Endorsement is to amend Section VI.K. under Master Policy (Form TG-l,
TG-87 or TG-106, but not any other Endorsement to the Policy under which Loans are insured),
relating to the incontestability of coverage, by deleting Condition 3 of Section VI.K. To the

extent of any inconsistency or conflict between the terms of the Policy and this Endorsement, this
Endorsement will control.

A. Section VI.K. is amended by deleting Condition 3 thereof.

B. Prior to this Endorsement, Condition 3 of Section VI.K., which is being deleted, read as
follows:

3. The Borrower has made twelve (12) consecutive regularly-scheduled loan payments prior
to the date the Loan went into Default, utilizing funds available to Borrower from sources
other than any Person described in condition l above.

C. This Endorsement will apply only to those Loans with a Certificate Effective Date which is
on or after December 20, l996.

All terms capitalized will have the meaning set forth in the Policy, except as otherwise defined

herein. Nothing herein contained will be held to vary, aiter, waive or extend any of the terms and
conditions of the Policy, or any amendments thereto, except as expressly set forth above.

Attaching to and forming part of Policy No. 43-0216-0026 issued to American Home Mortgage.

TRIAD GUARANTY INSURANCE CORPORATION

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Presi dent Secretary

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Form #TGE~26 (12/96) 12/05

 

 

Case 3:09-cv-O2363, Document 1-4 Filed 12/11/09 @e 7 of 21 Page|D 69
Master Policy Provisions Endorsement

(Exclusions From Coverage)

The purpose of this Endorsement is to amend Condition III (Exclusions Prom Coverage) under Master Policy

(Form TG-l or TG-106, but not any other Endorsement to the Policy under which Loans are insured), to include
the following:

G. Physical Damage (Other than Relating to Pre-Existing Environmental Conditions) - Any Claim where, at
any time after the Certificate Effective Date, there is Physical Damage to the Property of a type other than as
described in Condition IlI.F. and other than reasonable wear and tear, subject to the following provisions:

l. This exclusion will not apply if the Company in good faith determines that the aggregate cost of restoring
all such Physical Damage is less than fifteen hundred dollars ($1,500.00), or such higher amount as the
Company may provide from time to time.

2. This exclusion will not apply if such Physical Damage was specifically disclosed to the Company in the
application for coverage relating to the Property.

3. This exclusion will apply if such Physical Damage occurred:

a. prior to expiration of the settlement period described in Condition V.C. if the Company elects to
acquire the related Property in settlement of a Claim; or

b. prior to the Defauit and was the principal cause of the Default and the Property was either uninsured for
loss arising from such Physical Damage or was insured for an amount which, disregarding any

deductibles up to $1,500.00, was insufficient to restore the Property as provided in Condition Ill.G.4.
below.

4. The exclusion resulting from Condition III.G.B. will not apply if the Property is restored in a timely and
diligent manner to its condition (except reasonable wear and tear) as of the Certificate Effective Date. In

lieu of requiring restoration of the property, the Company may, at its option, reduce the Claim Amount by
an amount equal to the cost of such restoration.

5. For purposes of this Condition IH.G., the Property subject to restoration will consist only of the land,
improvements or personal property deemed part of the real property under applicable law; and chattel
items, affixed to the real property and identified in the appraisal of the Property at the time the Loan was
made, whether or not they are deemed part of the real property.

6. Cost estimates relied upon by the Company in connection with this Condition HI.G. shall be provided in

writing by an independent party selected by the Company. The Company will furnish the Insured with any
such written cost estimates, if requested by the Insured.

H. Down Payment - Any Claim involving a Loan which is for the purchase of the Property, and for which the
Borrower did not make a down payment as described in the application for coverage.

I. First Lien Status - Any Claim, if the mortgage, deed of trust or other similar instrument executed by the
Borrower and Insured hereunder did not provide the Insured at origination with a first lien on the Property.

J. Breach of the Insured’s Obligations or Failure to Comply with Terms - Any Claim involving or arising
out of any breach by the Insured of its obligations under, or its failure to comply With the terms of, this Policy
or of its obligations as imposed by operation of law, if the breach of failure:

l. Materially contributed to the Defauit resulting in such Claim; or

2. Increased the Loss, except that if the Company can reasonable determine the amount of such increase, such
Claim will not be excluded, but the related Loss will be reduced to the extent of such amount.

Attaching to and forming part of Policy No. 43-0216-0026 issued to American Home Mortgage.
Triad Guaranty insurance Corporation

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Presi dent O”` Secretary

Form #TGE-27 (12/96) Authorized Representatlve
(12/05)

 

 

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MASTER POLICY PROVISIONS ENDORSEMENT

This Endorsement applies to all Certificates issued under the Master Policy to which it is attached:

Under Section V. B., Calculation of Claim Amount provision, 2.h. is added to the Master Policy as follows:

 

h. And, if the coverage under this Policy was paid for in a single premium that was

financed at origination and included in the original amount of the Loan, the amount of the
single premium so financed.

Under Section V. C., Payment of Loss provision, the following sentence is added at the beginning of the last
paragraph as follows:

In addition to the sum due pursuant to the option described above which the Company selects, if the
coverage under this Policy was paid for in a single premium that was financed at origination and
included in the original amount of the Loan, the Loss payable by the Company will include the
amount of the single premium so financed.

TRIAD GUARANTY INSURANCE CORPORATION

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President Secretary

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MASTER POLICY PROVISIONS ENDORSEMENT
(Cooperative Housing)

The purpose of this Endorsement is to amend conditions under the Master licy Form TG-l,
TG-87 or TG-106, with respect to cooperatives only, but not any other Endorse ent to the Policy
under which Loans are insured, to include the following:

l. Definitions The following definitions are amended as set forth below:

D. Borrower’s Title to the Property The existing definition is deleted in its entirety and
the following is substituted therefor:

“Borrower’s Title to the Property means the possession and control of the Unit which
gives transferable ownership rights which may include the right to record ownership of
the Stock and Proprietary lease and/or evidence of duly completed foreclosure pursuant
to the 'Uniform Commercial Code’."

I. Default The existing definition is deleted in its entirety and the following is substituted
therefor:

“Default means the failure of the Borrower to pay when due an amount equal to or greater
than one (1) monthly regular periodic payment due under the terms of a Loan, including
any such amount due by reason of the Insured’s exercise of the right to accelerate the
Loan or the failure of the Borrower to pay any Maintenance Fee of which the Insured has
received notice from the Corporation. Provided, however, that where the Loan is current,
the Insured’s obligations with respect to initiating foreclosure shall not commence until
six (6) months after the Insured’s initial receipt of such notice. A Loan is deemed to be in
Defauit for that month as of the close of business on the installment due date for which a
scheduled monthly payment has not been made. For example, a Loan is “three (3) months
in Default” if the monthly installments due on January l through March l remain unpaid
as of the close of business on March l.”

M. Good and Merchantable Title Subsection (3) is deleted in its entirety and the following
is inserted as a new section.

3. “Any impediments which will not have a materially adverse effect on either the
transferability or the sale of the Stock and Proprietary Lease on the Unit contained in
the articles of incorporation or the by-laws of the Corporation to approve a
transference of the Stock and Proprietary Lease.”

O. Loan The words “Security Agreement” are added after the words “deed of trust”.
V. Property in policies TG-l and TG-106 and

W. Property in policies TG-87 .
The definition is deleted in its entirety and replaced by the term “Unit”. Unit is defined as
the residential Unit in the Building which the Borrower is entitled to occupy, as
evidenced by the Stock and Proprietary lease. The term "Unit" as used herein shall
include the Stock and Proprietary Lease where the context requires. References in the
Policy to Property shall be deemed to mean “Unit”.

TGE-36 (5/00) (12/05)

 

 

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' IV. Conditions Precedent to Payment of Loss

G. Advances The existing section is deleted in its entirety and the following is substituted
therefor:

“The Insured shall advance to the Corporation pursuant to the Stock and Proprietary
l_ease for a Unit the Maintenance Fee, foreclosure and eviction costs (including but not
limited to Court Expenses and reasonable attomey’s fees), and necessary and reasonable
expenses for the protection and preservation of the property, The costs of repairing
physical damage to the Property shall not be considered an approvable expense."

The following definitions are added to I. Definitions:

Building means the real property including the land, building(s) and all improvements
owned in fee by the Corporation, unless otherwise noted as a leasehold. The Building and
all units therein shall have full governmental and quasi-governmental approval for their
residential use and occupancy.

Corporation means the cooperative corporation or association, as defined in the United
States Intemal Revenue Code, which owns the Building in which the Unit is located of
which the Borrower is a shareholder.

Stock and Proprietary Lease means the documents evidencing the Borrower’s rights
and obligations associated with the Unit which are collateral for the Loan and represent
the Borrower’s ownership interest of shares of the Corporation and leasehold interest as
tenant pursuant to the proprietary lease for the Unit.

Maintenance Fee means the amounts paid to the Corporation pursuant to the Stock and
Proprietary Lease for a Unit to cover the pro-rata share of the expenses of the Building
including but not limited to, debt service on the underlying mortgage, real estate taxes
and other normal and usual operating expenses properly payable by the Insured.

All terms capitalized will have the meaning set forth in the Policy, except as otherwise defined
herein. Nothing herein contained will be held to vary, alter, waive or extend any of the terms and
conditions of the Policy, or any amendments thereto, except as expressly set forth above.

Attaching to and forming part of Policy No. 43-0216-0026 issued to American Home Mortgage.

TRIAD GUARANTY INSURANCE CORPORATlON

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Authorized Representati`%j

President Secretary

 

TGE-36 (5/00) (12/05)

 

 

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Terms and Conditions
i. Definitions

A. Appropriate Proceedings means any legal or administrative action by the insured affecting either the Loan or the
. title to the Property. and include, but are not limited to:

1. Preserving and pursuing deficiency rights where appropriate and permissible and where directed by the
Company; ’

2. Enforcing the terms of the Loan as allowed by the laws where the Property is iocated; l

3. Acquiring all of the Borrower’s right, tit|e, and interest in the Property, but excluding any voluntary l
conveyance under Condition lV.D.; or

4. Asserting the lnsured’s interest in the Property in a bankruptcy proceeding involving the Borrower.

B. Borrower means any Person required to repay the debt obligation created pursuant to the Loan, including any
co~signer or guarantor of the Loan.

C. Certificate means the document issued by the Company pursuant to this Policy and extending the indicated
coverage option to a specified Loan.

D. Borrower’s Title to the Property shall mean all of the Borrower’s right, title, and interest in the Property other than
unexpired redemption rights.

E. Claim means the timely filed written request, made on a form approved by the Company, to receive the benefits
of this Policy.

F. Claim Amount means the amount computed in accordance with Condition V.B.
0 G. Consummated means the later of:
1. The date on which the Loan was closed and ali Loan documents were executed; or
2. The date on which the funds under the Loan were initially disbursed to or for the account of the Borrower.

H. Court Expenses means the out-of-pocket cost of initiating and conducting Appropriate Proceedings or any
eviction proceedings These expenses include costs of filing or serving pleadings, conducting discovery, and the
enforcing of a judgment These expenses do not include reimbursement for any time spent by the insured or the
lnsured's employees, officers or agents nor do these expenses include attomey’s fees.

|. Defauit means the failure of a Borrower to pay when due an amount equal to or greater than one (1 ) monthly
regular periodic payment due under the terms of a Loan, including any such amount due by reason of the
lnsured's exercise of the right to accelerate the Loan. A Loan is deemed to be in Defauit for that month as of the
close of business on the installment due date for which a scheduled monthly payment has not been made. For
example, a Loan is “three (3) months in Default” if the monthly installments due on January t through March 1
remain unpaid as of the close of business on March t.

J. Effective Date means, provided that the premium has been paid as required herein:

1. For new Loans, 12:01 a.m. on the date the Loan was Consummated A new Loan is a Loan which was not
Consummated as of the date the insured submitted an application for coverage under this Policy; or

2. For other Loans, 12:01 a.m. on the date of coverage as indicated on the Certificate.

K. Environmental impairment means damage to the environment caused by any of the following conditions,

0 whether or not the occurrence of any such conditions was fortuitous, expected, intended, sudden, accidental, or
l gradua|:

1. The emission, discharge, disposal, dispersal, reiease, seepage, or escape of smoke, vapors, SOCf, fumeS,
acids, aikalis, toxic chemicals, liquids or gases, waste materials or other irritants, contaminants or poliutants,
into or upon land, the atmosphere or any watercourse or body of water, or

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2. The generation of odor, noises, vibrations, light, electricity, radiation, changes in temperature, or any other
sensory phenomena.

Environmental Lien means any lien on Property pursuant to the Comprehensive Environmental Ftesponse,
Compensation, and Liability Act and all laws amendatory thereof or supplementary thereto, or any similar federal
or state law providing for liens in connection with the cleanup of Environmental lmpairments, or the
commencement of legal or administrative proceedings that could result in such a lien.

Good and Merchantable Title means the title to the Property, free and clear of all liens (including but not limited to
Environmental Liens), encumbrances, covenants, conditions, restrictions, redemption rights and easements,
except for:

1. Any lien established by public bond, assessment or tax, when no installment call or payment of or under such
bond, assessment or tax is delinquent;

2. Any municipal and zoning ordinances and exceptions to title waived by the regulations of federal mortgage
insurers and guarantors with respect to mortgages on one~to~four family residences in effect on the date on
which the Loan was closed and ali documents were executed; and

3. Any impediments which will not have a materially adverse effecth either the transferability of the Property or
the sale thereof to a bona fide purchaser ¢

insured means:

1. The Person designated on the face of this Policy; and

2. Any Person who has become an insured pursuant to Condition ii.J.

Loan means any note, bond, or other evidence of indebtedness secured by a mortgage, deed of trust, or other
instrument, which constitutes or is equivalent to a first lien or charge on the Property and which the Company has
underwritten and approved and to which coverage under this Policy has been extended

Loss means the liability of the Company with respect to a Loan calculated in accordance with this Policy. A Loss
shall be deemed to have occurred when a Defauit on a Loan payment occurs, notwithstanding that the amount of
Loss is not then either presently ascertainable or due and payabie.

Person means any individual, corporation, pannership, association or other entity.

Perfected Claim means a Claim received by the Company and containing all information or proof required by the
Company.

Physical Damage means any tangible injury to the Property occurring after the Effective Date of the Certificate,
whether caused by accident or othen/vise, not including reasonable wear and tear.

Policy means this contract of insurance and all commitments, endorsementsl schedules. and Certificates
relating hereto, which are incorporated herein.

Possession of the Property means actual and physical occupancy and control of the Property.

Property means the Residential real property and all improvements and fixtures thereon which secure the Loan,
together with all easements and appurtenances, all rights of access, all rights to use common areas, recreational
and other facilities, and all replacements or additions thereto.

Residential means:

1. A type of building or a portion thereof which is designed for occupancy by not more than four (4) families; or

2. A single family condominium or PUD unit.

Servlcer means the Person designated by the insured and approved by the Company to service a Loan pursuant
to Condition il.l.

Any pronouns, when used herein. shall mean the single or plural, mascuiine or feminine, as the case may be.

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Coverage

A.

Application and Certificate-in order to obtain an extension of coverage under this Policy to a Loan, the insured
shall submit an application on forms furnished by or acceptable to the Company. The written application for
original coverage or an increase in coverage on a Loan under the applicable Certificate, together with ali
supporting documentation and representations, are incorporated herein by reference. Approvai of any
application shall be at the discretion of the Company and shall be in the form of a Certificate which extends
coverage pursuant to the terms and conditions of both this Policy and the Certificate.

initial Premlum-Within fifteen (15) days from the Effective Date of the Certificate, the insured shall forward the
appropriate initial premium due to the Company. The insured shall be entitled to a 30-day grace period for the
payment of the initial premium.

Renewal of Certificate and Canceliation for Non-Payment of Renewai Premlum--The entire renewal premium
for a Certificate shall be due and payable within tony-five (45) days after the coverage date through which the
prior premium on the Certificate had been paid. The Company shall give the Servlcer (or the |nsured, if the
Company’s records do not indicate that a Servicer has been appointed) notice of the renewal premium due date
of each Certificate, Upon payment of the entire renewal premium when due, the Certificate will be deemed
renewed. if the insured fails to make this payment within the forty-five (45) day period, the liability of the
Company for any Defauit not then existing shall terminate as of 12:01 a.m. on the first day following the coverage
date through which the prior premium had been paid, except that any Defauit occurring within the forty-five (45)
day period which results in a Claim being filed will be covered and any due and unpaid renewal premium for the
Certificate through the end of the applicable renewal period will be deducted from the Loss payment ln the event
coverage hereunder for a Loan lapses due to non-payment of premium attributable to the transfer, seizure, or
surrender of servicing rights with respect to such Loan, coverage shall automatically be reinstated, retroactive to the
date coverage had |apsed, provided all past due premiums with respect to the Loan are paid to the Company
within 90 days after the lapse commenced

Canceilation by the Insured of a Certificate-The insured may cancel a Certificate by returning the Certificate to
the Company or making a written request for cancellation to the Company and the Company must comply. Upon
receipt thereof, the Company shall refund or collect such sum as may be determined to be due in accordance
with the appropriate cancellation of premium schedule then in effect and furnished to the lnsured. However, no
refund on a Certificate will be paid if a Claim has been filed. Cancel|ation of a Certificate will not cancel this Policy.

Cancellation of Policy-Either the insured or the Company may cancel this Policy by providing thirty (30) days’
[forty~five (45) days in Florida] written notice of cancellation of the Policy. After the effective date of cancellation,
this Policy shall continue in full force and effect with respect to Certificates issued prior to the effective date of
cancellation, subject to all of the terms and conditions of this Policy and the Certificates, but in all other respects
this Policy shall be considered null and void.

Loan Modificatlons-Un|ess advance written approval is obtained from the Company, the insured shall not
make any change in the terms of the Loan including, but not limited to, the borrowed amount, interest rate, term,
or amortization schedule of the Loan, except as permitted by the terms of the Loan; nor any change in the
Property; nor release the Borrower from liability on the Loan. if any of the foregoing events occur without the
Company’s advance written approval, the Company’s liability for coverage under its Certificate shall terminate as
of the date such event occurs and the Company’s liability shall be limited to the return of a portion of the premium
paid prior to the date of such event in accordance with the applicable cancellation schedule and all premiums
paid after the date of such event.

Open End Provisions-The insured may increase the principal balance of the Loan, provided that the approval
of the Company has been obtained. The insured shall pay the Company the additional premium due at the then
prevailing premium rate,

Assumptions-~lf a Loan is assumed with the prior approval of the |nsured, the liability of the Company for
coverage under its Certificate shall terminate as of the date of such assumption, unless the Company approves
the assumption in writing or the Borrower’s liability under the Loan has not been released. The Company shall not
unreasonably withhold approval of an assumption, Upon termination of coverage under this Condition, the
Company’s liability shall be limited to the return of a portion of the premium paid prior to the date of such
termination in accordance with the applicable cancellation schedule and all premiums paid after the date of such
termination. it is understood that coverage will continue, and that the restriction of this Condition shall not apply,
if the insured cannot exercise a “due-on-sale” clause under the Loan or applicable law.

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i. Servicer-The insured may transfer (by sale or otherwise) the right to service a Loan, subject to the Company’s
written approval The insured shall furnish written notice to the Company within thirty (30) days after the date the
servicing is transferred The Company may withdraw its approval of any approved Servicer by furnishing written
notice to the lnsured. The insured shall replace a Servicer as to which approval is withdrawn within ninety (90)
days after receipt of the Company’s notice of withdrawa|. The approved Servicer shall be considered the agent of .
the insured with respect to all matters involving this Policy, including but not limited to the giving and receiving of
notice of a Claim, the cancellation of a Certificate, the payment of premiums, and the receipt of any premium

refunds that may become due under this Policy, and the insured shall be bound by the acts and omissions of the
Servicer as if they were the insured’s own acts and omissions

J. Change of lnsured--lf a Loan or a majority participation in a Loan is sold, assigned, or transferred by the
|nsured, coverage under the Certificate will continue with respect to the Loan, and the new owner or majority loan
participant shall be considered the lnsured(s) hereunder from the date notice thereof is given to the Company, if
the new owner or majority loan participant is an institutional investor approved by the Company in advance, or
othenivlse from the date the new owner or loan participant is approved in writing by the Company; provided that,
in either case, the Loan continues to be serviced by a Servicer approved by the Company. For purposes hereof,
the Federal Nationai Mortgage Association and the Federal Home Loan Mortgage Corporation are considered
approved institutional investors. Coverage for any Person becoming an insured pursuant to this Condition shall
be subject to all of the terms, conditions, and exclusions contained in this Policy and to all defenses to coverage
available to the Company against the original |nsured. Approvai by the Company of a change of insured shall not
constitute a waiver by the Company of any rights under this Policy or any coverage defenses

K. Coordination and Duplication of insurance Benefits--

1. lf any portion of the Loan is uninsured, all payments made by the Borrower under the terms of the Loan shall
be allocated to the insured portion of the Loan in the same ratio as the insured principal amount bears to the
total principal amount of the Loan. Any payment of a Loss hereunder shall be likewise allocated on the same
pro-rata basis.

2. The insured shall not carry duplicate mortgage guaranty insurance (other than mortgage guaranty pool
insurance or supplemental mortgage guaranty insurance) on any Loan.

3. The coverage under this Policy shall be excess over any other insurance which may apply to the Loan, except .
for mortgage guaranty pool insurance or supplemental mortgage guaranty insurance

lil. Exclusions From Coverage

The Company shall not be liable forl and the Policy shall not apply to, extend to, or cover the following:

A. Ba|loon Payment_Any Claim arising out of or in connection with the failure of the Borrower to make any
payment of principal and/or interest due underthe Loan, which payment arises because the insured exercises its
right to call the Loan when not in Defauit or because the term of the Loan is shorter than the amortization period,
and which payment is for an amount more than twice the regular periodic payments of principal and interest that
are set forth in the Loan (commonly referred to as a “Ba|loon Payment”); provided, however, that such exclusion
shall not apply if the insured or its approved Servicer offers the Borrower a renewal or extension of the Loan or a
new loan at market rates, otherwise subject to Sectlon ll.F., in an amount not less than the then outstanding
principal balance with no decrease in the amortization period, The exclusion shall not apply if the Borrower is
notified of the availability of a renewal or extension of the Loan or a new loan and does not seek such renewal,
extension or new loan.

B. Effective Date-Any Claim resulting from a Defauit occurring before the Effective Date of the Policy or
Certificate or after its lapse or cancellation, unless coverage is renewed in accordance with Condition i|.C.

C. incomplete Construction-Any Claim when, as of the date of such Claim, construction of the Property is not
completed in accordance with the construction plans and specifications (other than construction of repairs for
Physical Damage occurring after the Effective Date of the Certificate).

wrongful act (including error or omission) by the insured or the Servicer; or any Claim involving or arising out of
negligence of the insured or the Servicer, which negligence either (1 ) is material to the acceptance of the risk or
to the hazard assumed by the Company or materially contributed to the Defauit resulting in such Claim,

D. Neg|igence and Fraud-Any Claim involving or arising out of any dishonest, fraudulent, criminal, or knowingly .

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or (2) increased the Claim Amount, except that if the Company can reasonably determine the amount of such
increase, such Claim will not be exciuded, but the related Claim Amount will be reduced by the extent of such
amount.

Non-Approved Servicer-Any Claim occurring when the Servicer, at time of Defauit or thereafter, was not
approved by the Company, provided that if approval of the Servicer is withdrawn by the Company pursuant to
Condition il.i., the Servicer shall be deemed approved for purposes of this Condition until 90 days after the
insured has received the Company’s notice of disapproval

Environmental impairment--Any Claim involving Property that is subject to tangible injury caused by an
Environmental impairment, which has not been removed or remediated by the insured in accordance
with applicable federai, state, or local standards, and which was in existence prior to the Effective Date of the
Certificate and

i. originated outside the dwelling (except radon);

2 was the principal cause of the Defauit;

3. was not known to the Company on the Effective Date of the Certificate; and

4 renders the Residentiai structure on the Property uninhabitab|e. For purposes hereof, a structure shall be
considered “uninhabitable" if generally recognized standards for residential occupancy are violated or if, in

the absence of such standards, a reasonable person would conclude that the structure does not provide a
reasonably safe place to live without fear to health or safety.

iV. Conditions Precedent to payment of Loss

it is a condition precedent to the Company’s obligation to pay a Loss that the insured comply with ali of the following
requirements:

A.

Notice of Defauit-The insured shall give the Company written notice:
1. Within forty-five (45) days of the Defauit, if it occurs when the first payment is due under the Loan; or
2. Within ten (10) days of the earlier ol either

a. The date when the Borrower becomes four (4) months in Defauit on the Loan; or

b. The date when any proceeding, including Appropriate Proceedings, which affects the Loan or the
Property or the insured’s or Borrower’s interest therein has been started.

3. The Company shall not deny a claim by reason of the insured’s failure to provide timely notice as provided
above unless the Company is materially prejudiced by such failure or written notice is not given to the
Company within twelve (12) months after such notice became untimeiy. in the event the Company pays a

claim as to which notice was not given timeiy, ali Loan interest accruing during the period of lateness shall be
excluded from the calculation of Loss.

Monthiy Reports-Foiiowing a notice of Defauit on a l_oan, the insured shall give the Company monthly reports,
on forms furnished by the Company, on the status of the Loan and on the servicing efforts undertaken to remedy
the Default. These monthly reports shall continue until the Borrower is no longer in Defauit, the Appropriate
Proceedings terminate, or until the insured has obtained Borrower’s Title to the Property.

Company’s Options after Notice of Defauit-

1. if the Company so requests, the insured shall permit the Company to assist the insured in the collection of
monies due under the Loan, including but not limited to activities such as obtaining information from the
Borrower, attempting to develop payment schedules acceptable to the |nsured, conducting Property
inspections, and requesting appraisals of the Property.

2. if the Company so directs, at any time alter receiving the Insured’s Notice of Default, the insured shall file a
Claim within twenty (20) days and the Company shall make a payment of Loss in accordance with Condition
V.C.2. Thereafter, following acquisition of Borrower’s Title to the Property or either of the events described
in Condition V.A.2. or V.A.3., the insured shall be entitled to file a supplemental Claim in an amount

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equal to the sum of the advances, not included in the initial Claim, made by the insured under Condition lV.G.,
subject to the limitation of Condition V.B.i .c., less the seven deductions specified in Condition V.B.2.. to the
extent not deducted in the payment of the initial Claim, and such supplemental Claim shall be paid by the
Company in accordance with Condition V.C.2. For purposes of calculating the supplemental Claim, ali
amounts reimbursable to the insured pursuant to Condition lV.H.2. shall be reimbursed in fuii. 0

D. Voluntary Conveyance-The insured may accept a conveyance of title from the Borrower in lieu of foreclosure
or other proceeding if: '

1. a. The ability of the insured to preserve, transfer and assign to the Company the insured’s rights against the
Borrower is not impaired; and

b. The rights of the Company under this Policy against such Borrower are not adversely affected; or
2. The written approval of the Company has been obtained.

E. Appropriate Proceedings--The insured MUST begin Appropriate Proceedings when the Loan becomes six (6)
months in Defauit unless the Company provides written instructions that some other action be taken. The
Company reserves the right to direct the insured to institute Appropriate Proceedings at any time after Defauit.
When either defending against or bringing Appropriate Proceedings, the insured shall report the status of these
proceedings to the Company as reasonably and expeditiously as possibie.

in conducting Appropriate Proceedings, the insured shali:
1. Diligently pursue the Appropriate Proceedings once they have begun;

2. Apply for the appointment of a receiver and assignment of rent, if permitted by law and requested by the
Company;

3. Furnish the Company with copies of ali notices and pleadings filed or required in the Appropriate
Proceedings;

4. Act so that its ability to preserve, transfer and assign to the Company its rights against the Borrower is not 0
impaired; and so that the rights of the Company under this Policy against the Borrower are not adversely
affected, including any rights to obtain a deficiency judgment in accordance with Condition lV.H.;

5. Furnish the Company with a written statement indicating the estimated potential Loss, calculated in
accordance with Condition V.B., at least fifteen (15) days before the foreclosure saie; and

6. Bid an amount at the foreclosure sale which fully protects the rights of the Company under this Policy against
the Borrower, including any rights to obtain a deficiency judgment in accordance with Condition iV.H.The
insured shall follow the bidding instructions, if any, furnished by the Company. in the absence of such
instructions, the insured may bid the amount necessary to obtain Borrower’s Title to the Property. if the
insured is unable to obtain Borrower’s Title to the Property because it follows the Company’s bidding
instructions that specify a maximum bid or the winning bid price exceeds the insured’s estimate of the
Property's market value, the insured shall be entitled to file a claim under the Policy for the lesser of (a) the
Loss payable in accordance with Condition V.C.2. and (b) the difference between the Loss payable in
accordance with Condition V.C.i. and the net proceeds realized at the foreclosure sale. if the Company
specifies a maximum bid that results in the amount described in (b) above exceeding the amount described
in (a) above, then the insured shall be entitled to file a claim under the Policy for the greater of such amounts.
if the Company specifies a minimum bid that is less than the difference between the Loss payable in
accordance with Condition V.C.i. and the Loss payable in accordance with Condition V.C.2. and the Property
is redeemed from the insured for less than the amount owed under the terms of the Loan, the insured shall be
entitled to file a claim for the difference between the Loss payable in accordance with Condition V.C.i . and
the redemption price of the Property.

F. Mitigation of Damages-

‘i. The insured shall actively cooperate with the Company to prevent and mitigate the Loss and to assist the .
Company in the Company’s attempts to prevent and mitigate the Loss, including but not limited to good faith
efforts to effectuate the early disposition of the property, The Company will administer the Policy in good
faith.

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2. Untii such time as the Company waives its right to settle a Claim in accordance with Condition V.C.i. or its
right to elect such method of settlement has expired, the insured shall not execute a binding contract to sell
the Property without the Company’s prior approval. Further, the insured shall authorize its broker to release
to the Company marketing information for the Property when requested by the Company, unless the insured
shall have notified the brokerthat the Company’s right to elect to settle a Claim in accordance with Condition

, V.C.i . has been waived or has expired. if the insured wishes to obtain the Company’s approval to execute a
binding contract to sell the Property, it will submit to the Company information concerning the proposed Prop-
erty saie, the expense items proposed by the insured to be deducted from the gross proceeds of sale for pur-
poses of Condition V.C.3., and the lnsured’s then-estimated amounts thereof. The Company will approve or
reject the proposed settlement and will not require the insured to make counteroffers. if the Company elects
to settle the Claim in accordance with Condition V.C.i ., it will thereafter control the marketing of the Property.

G. Advances--`i'he insured shall advance real estate property taxes and normal and customary hazard insurance
premiums, foreclosure and eviction costs (including but not limited to Court Expenses and reasonable attomeys'
fees), and necessary and reasonable expenses for the protection and preservation of the Property. The costs of
repairing Physical Damage to the Property shall not be considered an approvabie expense.

H. Deficiency Actions-

1. if either the Company or the insured elects to pursue a deficiency judgment against the Borrower, such party
shall notify the other and together they shall determine for whose benefit the action shall be undertaken after
considering all material information availabie. Any amounts collected from a judgment thereon, less post-
judgment collection costs, shall be paid to the party for whose benefit the action was commenced if pursuit
of the deficiency judgment was undertaken for the mutual benefit of the Company and the |nsured, (a) the
rights against the Borrower will be held jointiy, with each plaintiff having full and undivided rights against the
Borrower, and (b) the Company shall be entitled to a percentage of the net amount coilected, determined by
dividing the total Loss paid by the Company with respect to the Claim by the gross amount of the deficiency
judgment, and the balance shall be paid to the |nsured, Untii payment of Loss by the Company, the insured
shall retain control and management of a deficiency action undertaken for the mutual benefit of the Company
and the lnsured; and thereafter the control and management of such action shall be in accordance with the
Company’s instructions, provided that the insured may retain control and management if, determined at the

l time of payment of the Loss, the insured has more at risk than the Company clue to multiple loan defaults by
. the same Borrower.

2. if the pursuit of a deficiency judgment will cause additional expense, whether through delay in the insured’s
ability to obtain Borrower’s Title to the Property (free of any redemption rights) or oiherwise, ali advances
made by the insured pursuant to Condition iV.G., notwithstanding any limitation thereon continued to
Condition V., and the amount of interest on the Loan computed at the contract rate stated in the Loan which
are paid or accrued solely because of such delay in obtaining Borrower’s Title to the Property shall be
reimbursed as follows:

a. if pursuit of the deficiency judgment was undertaken solely for the Company’s benefit, ali such amounts
shall be added to the Loss payable by the Company hereundei",

b if pursuit of the deficiency judgment was undertaken solely for the insured’s benefit, no such amounts
shall be recoverable hereunder; and

c. if pursuit of the deficiencyjudgment was undertaken for the mutual benefit of the Company and the
insured, all such amounts shall be allocated between the Company and the insured iri the same
proportion to which they are entitled to share in the deficiency judgment, and appropriate settlement
shall be made in accordance with such ailocaticn. A settlement shall be made upon conclusion of the
deficiency action for items paid or accrued through such daie, and a final settlement shall be made after
completion of any collection efforts.

i. Claim information-in order to make a Perfecied Claim, the insured must provide the Company with the foilowing:
1. A completed form approved by the Company for payment of a Claim;
2. All information reasonably requested by the Company;
5. 3. An executed trustee’s or sheriff’s deed, or other evidence satisfactory to the Company that the foreclosure

sale has been completed, or a deed from the Borrower in the case of a voluntary conveyance, demonstrating
that the insured has obtained Borrower’s Title to the Property; and

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4. Access to the Property if requested by the Company;
provided that the insured shall not be required to comply with subparagraphs 3 and 4 above if the Property is
redeemed by the Borrower pursuant to the exercise of redemption rights arising in a foreclosure sale or is
conveyed to a third party prior to the hling of a Claim in a foreclosure sale or in an early disposition of the Property
approved by the Company. .
V. Loss Payment Procedure

A. Fiiing of Claim-The insured shall file a Claim no later than sixty (60) days following the first to occur of the
following events:

i. The acquisition by the insured of Borrower’s Title to the Property and the expiration of any redemption rights;
2. The disposition of the Property to a third party at a foreclosure sale; or
3. The early disposition of the Property to a third party with the Company’s approval pursuant to Condition iV.F.
if the insured fails to file a Claim within the time prescribed, such failure shall be deemed to have been and election
by the insured to waive any right to any benefit under this Policy with respect to the affected Loan unless the
Company agrees otherwise.
B. Caiculation of Claim Amount-The Claim Amount shall be an amount equal to the foilowing:
1. The sum of
a. The amount of unpaid principal balance due under the Loan as of the date of Defauit;
b. The amount of accumulated delinquent interest due on the Loan, computed at the contract rate stated in
the Loan, through the date that the Claim is submitted to the Company or, if earlier, the date sixty (60)
days after the occurrence of the applicable event described in Condition V.A.; and

c. The amount of advances made by the insured under Condition lV.G.; provided that .

(1) Attorney’s fees advanced thereunder shall not exceed three percent (3%) of the sum of the unpaid
principal balance and the accumulated interest payable in accordance with Condition V.B.i .b; and

(2) Payment for such other advances shall be prorated through the date the Claim is submitted to the
Company or, if earlier, the date sixty (60) days after the occurrence of the applicable event
described in Condition V.A.

2. Minus the sum of

a. The amount of ali rents and other payments (exciuding proceeds of fire and extended coverage
insurance) collected or received by the |nsured, which are derived from or in any way related to the
Property (other than proceeds of a sale of the Properiy);

b. The amount of cash remaining in any escrow account as of the last payment date;

c. The amount of cash to which the insured has retained the right of possession as security for the Loan;

d. The amount paid under applicable fire and extended coverage policies which are not applied to restoring
and repairing the Property, if the Property suffered Physical Damage, and which has not been applied to
the payment of the Loan;

e. The estimated cost to repair Physical Damage to the Property, if more than $1,500.00, but only if the
Company elects to settle the Claim pursuant to Condition V.C.i. and the insured does not elect to
perform such repairs;

f. The amount expended by the insured for advances not authorized by Condition iV.G; and

g. The amount of any payments of Loss previously made by the Company on the Loan. .;

3. if a Loan has been divided into secured and unsecured portions pursuant to proceedings under the federal
bankruptcy iaws, the amount of Loss shall include unpaid principal due under the unsecured portion of the

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Loan, even if the Borrower has been released from such portion of the Loan, with interest thereon computed
at the note rate from the date of Defauit through the date referred to in Condition V.B.1.b.

C. Payment of Loss-The Company shall elect the method of Loss settiement, as provided herein. within sixty (60)
. days after the insured has filed a Claim in accordance with Condition V.A., whether or not the Company has made
a final determination to accept the Claim, if additional information is required in order to make the Claim a
Perfected Claiml the Company must request such information from the insured within twenty (20) days after the
date the Claim was filed, whereupon the 60-day period shall be suspended until such additional information is
furnished to the Company. it at anytime prior to its settlement election the Company is denied reasonable access
to the Property, the 60-day period shall be suspended until such access is made available to the Company. The
Company shall select from the following settlement options, at its sole discretion:

1. Acquire title to the Property and pay the Claim Amount calculated in accordance with Condition V.B. The
Loss shall be payable only if ali of the following conditions are satisfied:

a. Title to the Property is conveyed to the Company by delivery of a recordable deed in normal and
customary form, containing the usual warranties and convenants and conveying to the Company or its
designee Good and Merchantabie Title to the Property, together with evidence satisfactory to the
Company, in the form of a title insurance policy approved by the Company or an opinion of title from an
attorney approved by the Company, that the insured has acquired and can convey to the Company or its
designee Good and Merchantabie Title to the Property;

b. All Physical Damage to the Property has been repaired by the |nsured, but only if the cost of repairs
exceeds $1,500.00 and the insured has elected to repair Physical Damage to the Property in lieu of
accepting a deduction from the Loss payment pursuant to Condition V.B.2.e. if the insured elects to
accept a deduction from the Loss payment in lieu of performing repairs, the insured shall, at the
Company’s request, assign all of the insured’s rights, title, and interests in any and ali insurance policies
pertaining to the Property (but only to the extent the proceeds thereof have not been deducted from the
Loss pursuant to Condition V.B.2.d.); and

‘ l c. Possession of the Property is furnished to the Company.

2. Pay a percentage of th_e Claim Amount pursuant to the coverage option specified on the Certificate. if the
Company elects to pay the Loss under the terms of this subparagraph 2, the Company shall have no rights in
the Property and the title to the Property shall be retained by the insured; or

3. if the Property is redeemed by the Borrower pursuant to the exercise of redemption rights arising in a
foreclosure sale or is conveyed to a third party prior to the date the Loss payment becomes clue in a
foreclosure sale or in an early disposition with the Company’s approvai, the Company shall pay the lesser of
(a) the Loss calculated in accordance with Condition V.B. minus the net proceeds of such disposition (i.e., net
of actual and reasonable marketing and closing costs), or (b) the percentage of Loss calculated in
accordance with Condition V.B. pursuant to the coverage option specified on the Certificate (uniess the

Company is required to pay the greater of amounts (a) and (b) under the specific circumstances described in
Condition |V.E.6.).

Except as provided in Condition Vi.C., payment of Loss shall be made not later than the end of the 60-day
period or. ii settlement is to be made in accordance with Condition V.C.i ., not later than ten (10) days after the
insured notifies the Company that it has satisfied ali of the conditions stated therein, or the end of the 60-day
period, whichever is iater.

D. Discharge of Obligation-Any and ali payments in the full amount required by Condition V.C., plus any amounts
required by Condition lV.C.2 and Condition iV.H.2l shall be a final discharge of the Company’s obligation with
respect to such Loss under this Policy,

Vi. Additional Conditions

A. Proceedings of Eminent Domain-ln the event that part or all of the Property is taken by eminent domain,
condemnation or by any other proceedings by a federal, state or local governmental unit or agency, the insured
0 shall require that the Borrower apply the maximum permissible amount of any compensation awarded in such
proceedings to reduce the principal balance of the Loan, in accordance with the law of the jurisdiction where the

Property is located

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B. Subrogation--

1. To the extent permitted by applicable iaw, the Company shall be subrogated pro rata (with pro rata shares
determined in accordance with Condition lV.H.) to all of the insured’s rights of recovery against the Borrower
and any other person or organization relating to the Loan or to the Property; except that the Company will be
entitled to all such rights if it is determined pursuant to Condition iV.H. that only the Company will pursue .
such rights or if the Company pays such Loss pursuant to Condition V.C.1. _Qr Condition V.C.3,(aj; and except,
further, that the insured will be entitled to ali such rights if it is determined pursuant to Condition iV.H. that
only the insured will pursue such rights or if the Company is not entitled by law to pursue such rights. The
insured shall execute and deliver at the request of the Company such instruments and papers and undertake
such actions as may be necessary to transfer, assign and secure such rights. The insured shall refrain from
any action, either before or after payment of a Loss hereunder, that would prejudice such rights.

2. The execution by the insured of a release or waiver of the right to collect the unpaid balance of a Loan shall
release the Company from its obligation under its Certificate to the extent and amount of said release or
waiver, anything in this Policy to the contrary notwithstanding

C. Claims Deiay--lf the payment of Loss is delayed pending an investigation by the Company of possible coverage
defenses or for any other reason, simple interest on the amount thereof, computed at the contract rate or rates
stated in the Loan through the date the Loss is paid, shall be added to the Loss payment. in no event shall the
Company delay its decision to accept or deny a Claim more than one hundred twenty (120) days after the date the
payment of Loss was otherwise required pursuant to Condition V.C. The denial of a Claim shall not abate the
accrual of interest pursuant to this Condition Vl.C. if it is ultimately determined, by legal proceedings or
otherwise, that the Claim is covered under the Policy.

D. Misrepresentation and Materiaiity of Obligations--The insured agrees that statements made in matters
presented by it, the Borrower, or any other party in any application for coverage under this Policy, and in the
appraisai, the plans and specifications, and other exhibits and documents submitted therewith or at any time
thereafter are the |nsured’s representations, and that the Company has issued the Certificate in reliance on the
correctness and completeness thereof.

E. Notice-in addition to ali other means of communication deemed acceptable by the Company in writing, ali .

notices, ciaims, tenders, reports and other data required to be submitted to the Company by the insured shall be
mailed postpaid to the Company at P.O. Box 2300, Winston-Sa|em, North Caroiina 27102. The Company may
change this address by giving written notice to the insured. All notices to the insured shall be postpaid to the
address on the face of this Policy or the last known address unless the Company is otherwise notified in writing.
The Company and the insured may mutually agree that notices shall be sent to any additional Person. No liability
is incurred by the Company if it is discovered that notice should have been sent to a Person other than the insured
or such additional Persons theretofore mutually agreed upon.

F. Reports and Examinations-The Company may call upon the insured for such reports pertaining to any Loan
insured hereunder as it may deem necessary and may inspect the books or accounts of the insured as they
pertain to any Loan insured hereunder.

G. Suit-

1. No suit or action for recovery of any Claim under this Policy shall be sustained in any court of law or equity
unless the insured has substantially complied with the terms and conditions of this Policy, and unless the suit
or action in equity is commenced within three (3) years [five (5) years in Kansas and Fiorida] after the Claim
has been filed with the Company. No suitor action for Claim may be brought against the Company until sixty
(60) days from the date that the Claim is iiied.

2. if a dispute arises concerning the Loan and involving either the Property or the |nsured, the Company has the
right to protect its interest by defending the suit, even if the allegations contained in such suit are groundless,
false or fraudulent The Company is not required to defend any lawsuit involving the |nsured, the Property or
the Loan. The Company shall also have the right to direct the insured to institute a suit on the insured’s behaif,
at the Company’s expense, if this suit is considered necessary or appropriate by the Company to preserve the

Company’s rights. .
3. if, under applicable iaw, the Borrower successfully asserts a defense which results in the release in whole or

in part of the Borrower’s obligations to repay the Loan, the Company shall be released to the same extent and

amount from its liability under this Policy except as provided in Condition V.B.3.

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H. Conformity to Statute--Any provision of this Policy which is in conflict with the law of the jurisdiction in which l
the insured is located is hereby amended to conform to the minimum requirements of that law.

|. Specia| Conditions-The Company will not rescind coverage or deny or adjust a claim with respect to a Loan

. on the basis of a failure to satisfy a special condition (other than a special condition relating to completion of

' constructing rehabilitation or repairs) if the Borrower has made twenty-four (24) consecutive monthly payments
from the Borrower’s own funds.

J. Premium Refunds-lf a Claim is excluded and the Company is not othenivise prejudiced or damaged thereby,
the Company shall refund to the insured a portion of the premium paid on the Certificate prior to the date of the
event giving rise to such exclusion in accordance with the applicable cancellation schedule and ali premiums
paid after the date of such event. »

K. incontestability-Subject to the satisfaction of ali of the conditions set forth below, the Company agrees not to
reject or deny a claim for benefits under this Policy by reason of fraud, negligence, omission, error, or
misrepresentation in the application for coverage of a Loan, or in any statement, document, exhibit, or
information submitted in connection with an application for coverage. This provision will not apply unless ali of
the following conditions are satisfied:

i. The |nsured, any officer, empioyee, or agent of the |nsured, any mortgage broker or intermediary
underwriting or originating the Loan, or any other Person under contract with any of the foregoing Persons
acting with respect to the Loan or the related Property transaction (including but not limited to an appraiser,
escrow agent, or closing agent) did not possess or otherwise acquire actual knowledge of such fraud,
negligence, omission, error, or misrepresentation prior to or within twelve (12) months after the Effective Date
of coverage with respect to the Loan;

2. The Company did not acquire actual knowledge of such fraud, negligence, omission, error, or
misrepresentation prior to or within twelve (12) months after the Effective Date of coverage with respect to the
Loan or if such knowledge was acquired by the Company within such twelve-month period, the Company
failed to rescind coverage within thirty (30) days after the date it acquired such knowiedge; and

0 3. The Borrower has made twelve (12) consecutive regularly-scheduled loan payments prior to the`date the

Loan went into Defauit, utilizing funds available to Borrower from sources other than any Person described in
condition 1 above.

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